
999 So.2d 735 (2009)
Joan WALKER, et al
v.
AVONDALE INDUSTRIES, INC., et al.
No. 2009-CC-0128.
Supreme Court of Louisiana.
January 28, 2009.
Granted. A district court is accorded broad discretion in determining whether expert testimony should be held admissible. Cheairs v. State of Louisiana, through the Department of Transportation and Development, 03-0680 (La.12/3/03), 861 So.2d 536. Having reviewed the trial court's reasons for judgment, we do not find the trial court abused its broad discretion in excluding the testimony of Dr. Kenneth Cohen. Accordingly, the judgment of the court of appeal is reversed, and the judgment of the trial court excluding Dr. Cohen's testimony is reinstated.
JOHNSON, J, would deny.
KNOLL, J, would deny.
